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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

v.                                                                           No. 2:16-cr-01613-JB    Deleted: 2:15-cr-04268


ANTHONY RAY BACA, et al.,                                                                            Deleted: ANGEL DELEON


               Defendants.


     DEFENDANT ANTHONY RAY BACA’S MOTION IN LIMINE TO PROHIBIT
        GOVERNMENT ATTORNEYS FROM USING RULE 404, 405, OR 608                                        Deleted: OR 609
          CHARACTER EVIDENCE WITHOUT JUDICIAL APPROVAL

       Under the Due Process Clause of the Fifth Amendment to the United States Constitution,        Deleted: Pursuant to


Defendant Anthony Ray Baca respectfully moves the Court to prohibit the Government’s                 Deleted: is


counsel from introducing, under Fed. R. Evid. 404, 405, or 608 impermissible character evidence      Deleted: , 609,


to the jury. In addition, Mr. Baca seeks to prohibit, for any potential character witnesses that     Deleted: limit


may testify, the Government from questioning the witness by using a hypothetical question that       Deleted: for the defense,
                                                                                                     Deleted: scope of any cross examination so that the
may, as the basis of the question, assume that any defendant is guilty. The other defendants in      questioner cannot ask
                                                                                                     Deleted: of the witness
this case have joined the motion. The United States has indicated its opposition to the imposition
                                                                                                     Deleted: to undersigned counsel that with regard to Fed. R.
of any limitation of use of character evidence at trial under Fed. R. Evid. 404, 405, and 608.       Evid. 609, this motion is not opposed; concerning character
                                                                                                     evidence to be used

       1.      The Superseding Indictment alleges 258 overt acts that purportedly constitute         Deleted: ,
                                                                                                     Deleted: however, this motion is opposed.
racketeering activity associated with a criminal conspiracy charge under 18 U.S.C. § 1962(d).        Deleted: Second
                                                                                                     Deleted: multiple counts of violent crimes in aid of
[Dkt 372.].                                                                                          racketeering, including murder, conspiracy to commit
                                                                                                     murder, and conspiracy to commit assault resulting in serious
                                                                                                     bodily injury.
                                                                                                     Deleted: Doc. 949
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         2.      As the Court has pointed out in the companion case associated with this one,

United States v. DeLeon, et al., the United States has alleged that Mr. Baca (along with others) is   Formatted: Font: Italic
                                                                                                      Deleted: recently pointed out,
one of the purported “enterprise leaders.”1 [See 2:15-cr-04268-JB, Dkt. 1533, p. 5]                   Formatted: Font: Italic

         3.      At this time, Mr. Baca presumes that the United States may be tempted to present

reputational or character evidence related to Mr. Baca’s alleged leadership role in the criminal

enterprise alleged in this case, as well as other enterprise traits like the continuity of the

enterprise’s associations, in addition to other criminal traits that the United States may deem

relevant to any defendant at trial. Such evidence may take the form of reputational opinion or

character evidence, testimony that may not be based on firsthand knowledge of a defendant but

rather based on the rumors or gossip that inmates may have heard within the prison environment

over the years that a witness has been confined there.

         4.      The Rules of Evidence, however, do not allow for such character or opinion           Deleted: these kinds of


evidence to be introduced to the jury, unless a defendant first introduces character evidence on

the specific trait in question. See Fed. R. Evid. 404(a)(2) (allowing for the prosecutor to “offer

evidence to rebut” a defendant’s character evidence). Hence, the Court should prohibit the

United States from introducing such evidence to the jury, like Mr. Baca’s purported leadership
                                                                                                      Deleted: evidence
status, when that evidence is in the form of reputation or opinion testimony from a witness who       Deleted: the
                                                                                                      Deleted: es
lack firsthand knowledge of the conduct supporting the testimonial assertion.
                                                                                                      Deleted:

         5.      Similarly, should any defendant use a character witness to introduce and character   Deleted: at this trial.
                                                                                                      Deleted: for any trait
that is allowed under Fed. R. Evid. 404(a)(3), the Court should prohibit the United States from       Deleted: 2
                                                                                                      Deleted: (A)
asking any question of that witness in the form of hypothetical that is based on the assumption       Deleted: s
                                                                                                      Deleted: questions
that any defendant is guilty of any racketeering activity alleged in the Indictment.
                                                                                                      Deleted: are
                                                                                                      Deleted: offenses
                                                                                                      Deleted:
1   Mr. Baca is not conceding this fact, but merely repeats it here for the sake of this argument.    Formatted: Font: (Default) Times New Roman


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       6.      The Court has broad discretion to control the cross-examination of any witness.

That discretion includes the authority to prohibit hypothetical questions that assume the guilt of   Deleted: , and has t


any defendant. In United States v. Polsinelli, 649 F.2d 793, 796-97 (10th Cir. 1981), for

instance, the Court of Appeals reversed a defendant’s conviction for drug distribution when the

prosecution asked the defense character witness if his opinion about the defendant would change

if the witness knew that the defendant had distributed drugs. In reversing the conviction, the

Tenth Circuit noted that:

       The nature of the question was a far cry from any concept of formulated community
       opinion. Rather, the questions posed sought speculative responses resting upon an
       assumption of guilt. Government counsel asked if Ledesma’s reputation would be
       affected if he were convicted of the alleged crime. These hypothetical questions struck at
       the very heart of the presumption of innocence which is fundamental to Anglo-Saxon
       concepts of fair trial. We think that the risk of questions put have no place in a criminal
       trial.

Id. The Tenth Circuit noted that hypothetical questions that assumed guilt violated the due

process rights of the defendant, not simply the rules of evidence. Such questions have been

broadly condemned by our sister-circuit courts as well. See, e.g., United States v. Oshatz, 912

F.2d 534, 539 (2d Cir. 1990); United States v. Shwayder, 312 F.3d 1109, 1121 (9th Cir. 2002);

United States v. Guzman, 167 F.3d 1350, 1352 (11th Cir. 1999).                                       Formatted: Font: Italic



                                          CONCLUSION

       WHEREFORE, Defendant Anthony Ray Baca and his co-defendants move in limine for

an order prohibiting the Government’s counsel from introducing reputation and opinion

testimony in this case without laying a proper foundation with the Court that the witness has

acquired first-hand knowledge on the matter about which the witness will testify, and to prohibit    Deleted: first seeking judicial approval from the Court,




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the prosecution from using guilt-assuming questions as part of any examination of character   Deleted: cross-examination of a defense


witness.

                                                                                              Deleted:


                                     Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 14th day of May 2018, I filed the foregoing pleading         Deleted: December
                                                                                                 Deleted: 7
electronically through the CM/ECF system, which caused counsel for Plaintiff and Defendants to

be served by electronic means, as more fully reflected on the Notice of Electronic Filing.

                                                     /s/ Marc Lowry
                                                     Marc Lowry




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